Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 1 of 7




                                                                             FILED
                                                                  John E. Triplett, Acting Clerk
                                                                   United States District Court

                                                               By casbell at 1:27 pm, Oct 20, 2020
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 2 of 7
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 3 of 7
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 4 of 7
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 5 of 7
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 6 of 7
Case 2:18-cr-00022-LGW-BWC Document 935 Filed 10/20/20 Page 7 of 7
